            EXHIBIT 15




Case 2:20-cv-01771-PP Filed 12/07/20 Page 1 of 11 Document 59-15
Case 2:20-cv-01771-PP Filed 12/07/20 Page 2 of 11 Document 59-15
Case 2:20-cv-01771-PP Filed 12/07/20 Page 3 of 11 Document 59-15
Case 2:20-cv-01771-PP Filed 12/07/20 Page 4 of 11 Document 59-15
Case 2:20-cv-01771-PP Filed 12/07/20 Page 5 of 11 Document 59-15
Case 2:20-cv-01771-PP Filed 12/07/20 Page 6 of 11 Document 59-15
Case 2:20-cv-01771-PP Filed 12/07/20 Page 7 of 11 Document 59-15
Case 2:20-cv-01771-PP Filed 12/07/20 Page 8 of 11 Document 59-15
Case 2:20-cv-01771-PP Filed 12/07/20 Page 9 of 11 Document 59-15
Case 2:20-cv-01771-PP Filed 12/07/20 Page 10 of 11 Document 59-15
Case 2:20-cv-01771-PP Filed 12/07/20 Page 11 of 11 Document 59-15
